                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION
UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )
                                                  )
vs.                                               )      Case No. 22-03027-01-CR-S-BP
                                                  )
NATHAN MAHAFFEY,                                  )
                                                  )
               Defendant.                         )

                       UNOPPOSED MOTION FOR CONTINUANCE

       Comes now Defendant, by counsel Scott McBride, and moves this Court, pursuant

to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), to remove this case from the scheduled trial

docket and to continue this case until the August 22, 2022, trial docket.

                              SUGGESTIONS IN SUPPORT

       1.      Defendant is currently detained awaiting trial.

       2.      James J. Kelleher, Assistant United States Attorney, does not oppose this

request.

       3.      This continuance is not sought for purpose of unnecessary delay, but is

sought in truth and fact so that the Defendant may fully investigate the case, review all

discovery, and adequately prepare for trial.

       4.      In accordance with 18 U.S.C. § 3161(h)(7)(A) and (B)(iv), it is submitted,

that the ends of justice served by the continuance outweigh the best interests of the public

and the Defendant to a speedy trial, which is required by 18 U.S.C. § 3161(c)(1). Under

the provisions of 18 U.S.C. § 3161(h)(7)(A), the period of time until the requested criminal

trial docket setting should be excluded in computing the period of time in which the

Defendant should be brought to trial under the provisions of the Speedy Trial Act.



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       WHEREFORE, Defendant, respectfully requests this Court, pursuant to 18 U.S.C.

§ 3161(h)(7)(A) and (B)(iv) to continue this case until the August 22, 2022, trial docket, or

to any other subsequent date which this Court deems appropriate.


                                                  Respectfully Submitted,

                                                  THOMAS, BIRDSONG, MILLS,
                                                  MCBRIDE & OSBORNE, P.C.

                                                  By     /s/Scott T. McBride
                                                  Scott T. McBride, #41995
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                                                  ATTORNEY FOR DEFENDANT


                               CERTIFICATE OF SERVICE

I hereby certify that on this 24th day of March, 2022, I electronically filed the foregoing
with the clerk of the court using the CM/ECF system, which sent notification of such filing
to the following:

James J. Kelleher
Assistant U.S. Attorney
United States Attorney’s Office

                                                    /s/Scott T. McBride
                                                  Scott T. McBride




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